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                 UNITED STATES DISTRICT COURT
                    DISTRICT OF NEW JERSEY


IN RE: JOHNSON & JOHNSON
TALCUM POWDER PRODUCTS                 Case No. 3:16-md-2738-MAS-RLS
MARKETING, SALES PRACTICES
                                       MDL Case No. 2738
AND PRODUCTS LIABILITY
LITIGATION                             Motion Day: May 19, 2025



  DEFENDANT JOHNSON & JOHNSON’S SUPPLEMENTAL BRIEF IN
 SUPPORT OF ITS SECOND MOTION TO REMOVE BEASLEY ALLEN
       FROM THE PLAINTIFFS’ STEERING COMMITTEE
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                                INTRODUCTION

      Pending before the Court are two motions stemming from Beasley Allen’s

serial ethical lapses. The first concerns Beasley Allen’s improper relationship with

Johnson & Johnson’s former lawyer, James Conlan, and Beasley Allen’s attempts to

cover that relationship up. See Dkt. 28760-1. That motion seeks disqualification of

Beasley Allen or its removal from the Plaintiffs’ Steering Committee (“PSC”). J&J’s

second motion is about additional misconduct—namely, Beasley Allen’s attempt to

prevent resolution of this litigation through a pre-packaged bankruptcy plan by

falsely certifying that it had obtained informed consent from claimants to vote

against the plan. See Dkt. 33290-1. J&J’s evidence showed that the claimants never

provided Beasley Allen their consent and that, in fact, they wanted to vote in favor

of the plan. Id.

      Since the second motion was filed, additional evidence was elicited through

the bankruptcy case subsequently filed in the Southern District of Texas, which

confirmed Beasley Allen cast votes for its clients without their consent—but on a far

greater scale than previously known. After reviewing that evidence, Bankruptcy

Judge Christopher Lopez found that Beasley Allen had falsely certified that it had

the informed consent of over eight thousand of its clients, with full knowledge that

no such consent had been obtained. Worse still, the Judge found that Beasley Allen

voted to reject the proposed resolution plan on behalf of over five thousand of those


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clients (thereby depriving them of any recovery in bankruptcy), while

simultaneously stating its view that those clients’ claims were non-compensable in

the tort system (thereby depriving them of any recovery outside of bankruptcy).

      There is simply no way that a firm that has engaged in such conduct can sit in

a leadership position in this litigation.       Beasley Allen should be immediately

removed from the PSC.

                             FACTUAL SUMMARY
      J&J’s recent motion explained that Beasley Allen purported to vote against

the bankruptcy plan without claimant consent and against the claimants’ wishes. See

Dkt. 33290-1 at 6-7. Specifically, Beasley Allen cast “no” votes on behalf of clients

of the Onder law firm who certified that they granted consent to OnderLaw to vote

“yes” on the plan. See Dkt. 33290-1 at 6-7 & Exs. 1-21. The bankruptcy court

explained that the process OnderLaw had used to obtain the consent of its clients to

support the plan was “the standard” in bankruptcy. In re: Red River Talc LLC, No.

24-90505, ECF No. 1424 at 32 (Bankr. S.D. Tex. Mar. 31, 2025). This finding alone

confirms that the claimants’ ballots at issue in J&J’s motion were not validly cast by

Beasley Allen.    Onder’s votes were:       “Onder received approximately 11,000

affirmative responses using an internal ballot process,” and then, for his remaining

clients, relied on a specific power of attorney in his engagement letter. Id. Because

Beasley Allen attempted to vote “no” on behalf of some of the same claimants, those


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votes were necessarily invalid.     The bankruptcy court’s findings confirm that

Beasley Allen cast votes on behalf of another firm’s clients against their wishes.

      The bankruptcy court’s findings also confirm that Beasley Allen’s

certification that it had “informed consent” to vote against the plan on behalf of all

claimants listed on its master ballot was false. See Dkt. 33290-1 at 6. As the

bankruptcy court explained, Andy Birchfield “certified each of his 11,000 votes

under Option A” (the “informed consent” option), “[b]ut the evidence confirmed that

he received only 3,000 affirmative responses from clients communicating how the

client wanted to vote. The firm did not receive a response from the remaining

8,000.” Red River at 33; see also Ex. 4 to Declaration of Stephen D. Brody in

Support of Defendant Johnson & Johnson’s Supplemental Brief in Support of Its

Second Motion to Remove Beasley Allen From the Plaintiffs’ Steering Committee

(“Brody Decl.”), 1433:9-12, 1436:23-25. Birchfield testified in the bankruptcy

hearing that he believed a non-response from claimants was the same as informed

consent—i.e., that he “collected their silence as a response,” id. at 1441:2-23—but

the bankruptcy court rejected that excuse: “silence” does not “equal[] acceptance

based on the required certification language.” Red River at 34. We already knew

that Beasley Allen falsely certified consent for at least 21 claimants who authorized

OnderLaw to vote in favor of the plan. See Dkt. 33290-1 at 7. The bankruptcy court




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proceeding revealed that Beasley Allen’s certifications were inaccurate as to

thousands of additional claimants.

      Even more egregious, Beasley Allen admitted to knowingly prejudicing its

own clients’ interests. As the bankruptcy court pointedly noted, “Birchfield also

certified that over 5,000 voting clients had gynecological cancer on his Master Ballot

Spreadsheet.[] And thousands of these clients were voted to reject the [bankruptcy

plan] without any direction from those clients.” Red River at 34; see also Ex. 4 to

Brody Decl. 1419:20-1420:11, 1445:20-1447:6. This was a problem, because

Birchfield testified that he believes “gynecological [cancer] claims would be non-

compensable in the tort system,” id. at 1420:14-16, based on a lack of a scientific,

“causal link” between those cancers and talc use, id. at 1428:16-19. See also id. at

1494:18-20 (“I do not believe that the science would support prosecution of

[gynecological cancer] claims in the tort system.”). The upshot, as the bankruptcy

court recognized, is that “Birchfield voted on behalf of clients, without their consent,

to reject payment under the [plan] even though he believes those clients will not and

cannot be paid in the tort system.” Red River at 34. In other words, as a lawyer who

stands to profit personally from the common benefit fund in this MDL, see Dkt.

28760-1 at 9, Birchfield shot down his own clients’ only chance of recovery—and

he did so without their consent. See also Ex. 3 to Brody Decl. 1371:23-1372:5,




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1374:10-19, 1376:13-24 (Birchfield repeatedly confirming Beasley Allen’s position

that it “would never ever negotiate with J&J in bankruptcy”).

      And after thwarting a global resolution in bankruptcy with falsely certified

votes contrary to the interests of his clients, Birchfield waited less than two weeks

before directly soliciting Johnson & Johnson’s General Counsel 1 to engage in global

settlement negotiations with Mr. Birchfield and his Beasley Allen partner Leigh

O’Dell—but now in a forum that he hopes will reward him through the common

benefit fund. See Ex. 1 to Brody Decl.       As is evident from its response to his

solicitation, see Ex. 2 to Brody Decl., Johnson & Johnson would not (and frankly

could not) engage with Beasley Allen on any issue in view of Beasley Allen’s lack

of integrity. The Company may engage with another firm in the liaison role, but not

Beasley Allen.




1
   New Jersey RPC 4.2 provides that, absent permission, “a lawyer shall not
communicate about the subject of the representation with a person the lawyer knows
… to be represented by another lawyer in the matter.” RPC 4.2. Off-limits
employees include members of J&J’s “litigation control group,” i.e., “current agents
and employees responsible for, or significantly involved in, the determination of the
organization’s legal position in the matter.” RPC 1.13; see RPC 4.2. In other words,
absent permission, counsel may not directly contact employees who play a “role in
determining the organization’s legal position” in the relevant matter. Michaels v.
Woodland, 988 F. Supp. 468, 471 (D.N.J. 1997). Although Johnson & Johnson’s
General Counsel is of course an attorney, the Company is represented by outside
litigation counsel and in-house litigation counsel, and the Company considers the
direct communication by Mr. Birchfield, without permission, to be wholly improper.
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                                   ARGUMENT

      This Court has wide latitude to remove Beasley Allen from the PSC. Indeed,

any of its breaches of client trust alone would be sufficient. But all of them together

confirm that Beasley Allen is not fit to lead this MDL or sit on the PSC. A law firm

that casts votes without claimant consent, falsely certifies it has consent, and even

votes to reject recovery for clients who otherwise could not recover is not one that

can “fairly represent the various interests in the litigation” and “command the respect

of their colleagues and work cooperatively with opposing counsel and the court.”

Manual for Complex Litigation § 10.224 (4th ed. Sept. 2024 update). Beasley Allen

has demonstrated itself unfit to represent its own clients’ interests, let alone the

interests of clients represented by other firms. Its continued presence on the PSC

would be an intractable impediment to the fair progression of this litigation.

                                  CONCLUSION
      For the foregoing reasons, J&J’s Motion to Remove Beasley Allen from the

Plaintiffs’ Steering Committee should be granted.




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Dated: April 14, 2025                   Respectfully submitted,


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